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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 05-3459-JFW (Ex)                                        Date: November 26, 2018

Title:       David Cassirer -v- Thyssen-Bornemisza Collection Foundation

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                None Present
             Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                               None

PROCEEDINGS (IN CHAMBERS):              ORDER DENYING DEFENDANT THYSSEN-
                                        BORNEMISZA COLLECTION FOUNDATION'S MOTION
                                        FOR REVIEW AND RECONSIDERATION OF MAY 4,
                                        2015, DISCOVERY ORDER
                                        [filed 11/9/2018; Docket No. 381]

         On May 18, 2015, Defendant Thyssen-Bornemisza Collection Foundation (the
“Foundation”) filed a Notice of Objection and Motion for Review and Reconsideration of May 4,
2015, Discovery Order] (“Original Motion for Review and Reconsideration”) [Docket No. 304]. On
June 1, 2015, Plaintiffs David Cassirer, Ava Cassirer,1 and United Jewish Federation of San Diego
County (collectively, “Plaintiffs”) filed their Opposition [Docket No. 314]. On June 8, 2015, the
Foundation filed a Reply [Docket No. 317]. In light of the entry of final Judgment in favor of the
Foundation on June 12, 2015, on June 17, 2015, the Court denied the Foundation’s Original
Motion for Review and Reconsideration as moot [Docket No. 326]. In light of the Ninth Circuit’s
decision in Cassirer v. Thyssen-Bornemisza Collection Foundation, 862 F.3d 951 (9th Cir. 2017)
reversing and remanding the case to this Court, the Foundation’s Original Motion for Review and
Reconsideration is no longer moot. However, on November 5, 2018, the Court concluded that “a
new motion should be filed which more narrowly focuses on the relevant issues in light of this
Court’s and the Ninth Circuit’s decision with respect to choice-of-law” and ordered the Foundation
to file a new motion [Docket No. 378].

     Accordingly, on November 9, 2018, the Foundation filed a new Motion for Review and
Reconsideration of May 4, 2015, Discovery Order [Docket No. 381] (“New Motion for Review and
Reconsideration”). On November 14, 2018, Plaintiffs filed their Opposition [Docket No. 385]. On


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     On November 21, 2018, the Estate of Ava Cassirer, Egidijus Marcinkevicius, Administrator
WWA, was substituted for Ava Cassirer as a Plaintiff in this action.

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November 15, 2018, the Foundation filed a Reply [Docket No. 387]. Pursuant to Rule 78 of the
Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is
appropriate for decision without oral argument. The hearing calendared for December 3, 2018 is
hereby vacated and the matter taken off calendar. After considering the moving, opposing, and
reply papers, and the arguments therein, the Court rules as follows:

I.       BACKGROUND

        On April 7, 2015, the Foundation filed a Motion to Compel [Docket No. 255], seeking the
production of thirteen letters, dating from 1957 to 1967, between Lilly Cassirer-Neubauer (“Lilly”)
(or an agent of Lilly) and her then attorney Siegfried Neuland (the “Neuland Letters”). In that
Motion to Compel, the Foundation had argued that Plaintiffs had waived any privilege that attached
to those letters. After an extensive hearing on May 1, 2015, the Magistrate Judge, in his Order
filed on May 4, 2015, denied the Foundation’s Motion to Compel and concluded that, “Plaintiffs
have not expressly or impliedly waived the attorney client privilege assertedly applicable to the
subject documents.”

        In the Foundation’s Original Motion for Review and Reconsideration, the Foundation sought
reversal of the Magistrate Judge’s denial of the Foundation’s Motion to Compel, on the grounds
that: (1) the Magistrate Judge failed to consider whether the claimed privilege existed under
California law (which was the law advanced and argued by Plaintiffs), and that, under California
law, the attorney-client privilege ceased to exist after Lilly’s estate was distributed and her personal
representative was discharged; and (2) in the alternative, assuming the federal common law of
privilege applied, the attorney-client privilege was expressly or implicitly waived, and, at the very
least, in camera review was warranted. In the Foundation’s New Motion for Review and
Reconsideration, the Foundation now argues that: (1) German law should control the question of
privilege, and under German law, attorney-client privilege does not exist; (2) if California law
applies, the attorney-client privilege ceased to exist after Lilly’s estate was distributed and Lilly’s
personal representative was discharged; (3) if federal common law applies, the attorney-client
privilege has been waived; and (4) at the very least, in camera review is warranted.

II.      LEGAL STANDARD

        Federal Rule of Civil Procedure 72(a) provides in relevant part: “The district judge in the
case must consider timely objections and modify or set aside any part of the [Magistrate Judge’s]
order that is clearly erroneous or is contrary to law.” The “clearly erroneous” standard applies to
factual determinations and discretionary decisions. See Computer Economics, Inc. v. Gartner
Group, Inc., 50 F.Supp.2d 980, 983 (1999). That standard is “significantly deferential, requiring a
definite and firm conviction that a mistake has been committed.” Concrete Pipe & Prods. v.
Constr. Laborers Pension Trust, 508 U.S. 602, 623 (1993) (internal quotations omitted); see also
Sec. Farms v. Intern. Brotherhood of Teamsters, 124 F.3d 999, 1014 (9th Cir. 1997) (citation
omitted); Federal Deposit Ins. Corp. v. Fidelity & Deposit Co. of Maryland, 196 F.R.D. 375, 378
(S.D. Cal. 2000). The “contrary to law” standard permits independent review of purely legal
determinations made by the magistrate judge. See Haines v. Liggett Group, Inc., 975 F.2d 81, 91
(3d Cir. 1992); Federal Deposit Ins. Corp., 196 F.R.D. at 378. However, the reviewing court may
not simply substitute its judgment for that of the deciding court. See Grimes v. City and County of
San Francisco, 951 F.2d 236, 241 (9th Cir. 1991).

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III.      DISCUSSION

        The Foundation now claims that German law governs Plaintiffs’ assertion of attorney-client
privilege as to the Neuland Letters. Foundation’s New Motion for Review and Reconsideration at 5
(“German privilege law should govern the privilege asserted as the communications relate to
German legal proceedings and German law.”). Although Plaintiffs raised the potential applicability
of German law in 2015 (see Docket No. 255-1 at 25 n.6), the Foundation failed to rely on German
law in its briefing before the Magistrate Judge and failed to rely on German law in its Original
Motion for Review and Reconsideration. The Court concludes that the Foundation should not now
be allowed to raise this issue, which was never considered by the Magistrate Judge. See, e.g.,
United States v. Boyce, 2014 WL 7507240, at *7 (C.D. Cal. May 2, 2014) (“[D]istrict courts may
decline to consider arguments raised in Rule 72(a) motions that were not made before the
magistrate judge.”). In any event, for the reasons stated in Plaintiffs’ Opposition, the Court
concludes that it may not order Plaintiffs to produce the Neuland Letters under German law. See
Plaintiffs’ Opposition to New Motion at 7-12.

       With respect to the Foundation’s argument that the Magistrate Judge failed to consider
whether California law precluded Plaintiffs’ assertion of attorney-client privilege as to the Neuland
Letters, this Court and the Ninth Circuit determined that California law did not apply to Plaintiffs’
claims in this action, and there is no basis for California privilege law to apply to the Neuland
Letters. Finally, even if federal common law applied to the Plaintiffs’ assertion of privilege, the
Court concludes that the Magistrate Judge's ruling was not clearly erroneous or contrary to law.

IV.       CONCLUSION

       For the foregoing reasons, the Foundation’s New Motion for Review and Reconsideration is
DENIED. The Court declines to conduct an in camera review of the Neuland Letters, because such
a review would not have assisted the Court in ruling on the Foundation’s New Motion for Review
and Reconsideration.


          IT IS SO ORDERED.




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